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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                            CASE NO: 05-cr-80143-ROSENBERG

  UNITED STATES OF AMERICA,

               Plaintiff,
  v.

  CHRISTOPHER PHILIP DILEO,

              Defendant.
  _________________________________/

                             SENTENCING MEMORANDUM

        Defendant, Mr. Christopher Dileo, by and through undersigned counsel,

  respectfully files the following sentencing memorandum as requested by the Court.

  Mr. Dileo is eligible for a sentence reduction pursuant to section 404 of the First Step

  Act of 2018. Based on the following, this Court should exercise its discretion under

  section 404 and grant Mr. Dileo a sentence reduction.

        On April 12, 2006, Mr. Dileo entered a plea of guilty to: count two of the

  indictment which charged him with possession with intent to distribute five grams or

  more of crack cocaine; count four which charged him with possession of a firearm by

  convicted felon; and count five which charged him with carrying a firearm in

  connection with a drug trafficking offense. (DE 24,25). On July 6, 2006, Judge Hurley

  sentenced Mr. Dileo to 151 months as to count two, a concurrent sentence of 120

  months as to count four and a consecutive sentence of sixty months as to count five,

  for a total sentence of 211 months. (DE 29).
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        Judge Hurley determined that Mr. Dileo’s offense level was an offense level 34

  and criminal history of VI which corresponds to a sentencing range of 262 to 327

  months. However, a mental health expert testified at sentencing regarding Mr.

  Dileo’s bi-polar disorder and substance abuse. Judge Hurley determined that Mr.

  Dileo’s mental illness contributed to his crimes and Judge Hurley granted a five-level

  downward departure under U.S.S.G. § 5G2.13, diminished capacity, to an offense

  level 29, which resulted in a sentencing range of 151 to 188. Judge Hurley then

  imposed a sentence at the low end of the range, 151 as to Count two, the crack cocaine

  offense. The Court also imposed a concurrent sentence of 120 as to Count Four and

  Count Five required a consecutive 60-month sentence, for a total final sentence of 211

  months. (DE 29).

        Mr. Dileo has been in federal custody since August 19, 2005. In addition, the

  Federal Bureau of Prisons lists Mr. Dileo with a release date of January 20, 2021.

  Thus, even an immediate release would amount to no more than about a 10%

  reduction in Mr. Dileo’s total federal sentence of 211 months.

        Sentencing Factors

        Federal law mandates that the sentencing court “shall impose a sentence

  sufficient, but not greater than necessary,” and further mandates that the

  sentencing court, “in determining the particular sentence to be imposed, shall

  consider –

        (1)    the nature and circumstances of the offense and the history and
               characteristics of the defendant;
        (2)    the need for the sentence imposed –



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               (A)   to reflect the seriousness of the offense, to promote
                     respect for the law, and to provide just punishment
                     for the offense;
               (B)   to afford adequate deterrence to criminal conduct;
               (C)   to protect the public from further crimes of the
                     defendant; and
               (D)   to provide the defendant with needed educational or
                     vocational training, medical care, or other
                     correctional treatment in the most effective manner.

  18 U.S.C. § 3553(a)(1),(2) (emphasis added).

        History and Characteristics of Defendant. To begin with, the history and

  characteristics of Mr. Dileo support a sentence reduction just as they did at Mr.

  Dileo’s initial sentencing. At that initial sentencing hearing, Dr. Stephen Alexander,

  a licensed psychologist, testified on behalf of Mr. Dileo. (DE 41:11). Dr. Alexander

  testified that Mr. Dileo had been treated by Dr. Agresty, the Chief of Psychiatry at

  Columbia Hospital. (DE 41:16). Dr. Alexander testified that, based on a review of

  Dr. Agresty’s records, Dr. Agresty diagnosed Mr. Dileo “with bipolar disorder that

  had manic and depressive features.” Id. When Mr. Dileo was hospitalized and

  evaluated, “he was suffering from bipolar disorder with a severe depressive episode,

  the equivalent of a major depression.” Id. at 16, 17. Dr. Alexander testified that

  “according to Dr. Agresty’s notes, Mr. Dileo was suicidal upon admission to Columbia

  because of the depth of the depression.” Id. at 17. Dr. Alexander also testified that

  “Mr. Dileo’s illness had gone largely untreated throughout his lifetime.” Id.

        Dr. Alexander testified that, in his professional opinion, Mr. Dileo’s drug usage

  was materially affected by his mental illness. (DE 41:23).     Dr. Alexander testified

  that when Mr. Dileo discovered cocaine and used it to self-medicate his deep



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  depression, “he became psychologically and rapidly psychologically addicted and

  remains so that way.” Id. at 24. However, Dr. Alexander also testified that he

  concurred in the conclusion of the other mental health expert who had examined Mr.

  Dileo that Mr. Dileo would no longer pose a threat to himself or others if he was

  properly treated and medicated. Id. Dr. Alexander testified that when Mr. Dileo

  committed the offense of conviction and the prior criminal offenses, Mr. Dileo was

  “suffering from a significantly reduced mental capacity.” Id. at 25.

        Following the testimony and argument, Judge Hurley made the following

  determination:

        Based on the testimony and evidence presented, it is clear and I think
        beyond dispute that Mr. Dileo suffers from a psychological disorder,
        perhaps a mental illness, bipolar condition. It is a very serious condition
        as Dr. Alexander testified because it is not curable, it is simply
        manageable, and does require that someone first appreciate that and
        take appropriate steps to deal with that condition.

  (DE 41:44). Judge Hurley then concluded that “the defendant has established by a

  preponderance of the evidence that he is entitled to a downward departure under

  section 5K2.13.” Id. at 47. The prosecutor also noted that following his arrest, Mr.

  Dileo did “everything humanly possible to try to cooperate and told us everything he

  knows, but through no fault of either himself or I would say the Government agents

  investigating that information we haven’t been able to make the case.” Id. at 55. The

  government was thus not able to request a reduction for substantial assistance.

        Again, Judge Hurley determined that Mr. Dileo had a diminished mental

  capacity that “substantially contributed to his criminal activity.”         Id. at 56.




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  Accordingly, Judge Hurley granted a downward departure, under § 5K2.13, of five

  offense levels from a level 34 to a level 29. Id. at 57, 58.

        In addition, Mr. Dileo, as Judge Hurley hoped, has complied with all the

  requirements of treatment while imprisoned. He will also continue to comply with

  those requirements while on supervised release.

        Nature and Seriousness of the Offense. While the specific facts of Mr.

  Dileo’s case have not changed, the nature and seriousness of his offense have

  changed. Aside from other factors not present here, the severity of drug offenses are

  generally gauged by the amount of drugs involved. And with regard to crack offenses

  and their severity based on the amount of crack, the Fair Sentencing Act of 2010 was

  a clear admission from Congress that the severity of crack cocaine offenses had been

  overrepresented.

        At the time of Mr. Dileo’s original sentencing, his offense was one that carried

  a possible forty-year sentence. Applying the Fair Sentencing Act of 2010 to his offense

  leaves him with an offense that has a twenty-year maximum, half as severe as seen

  in his initial sentencing. The change in the severity of the offense means that you

  also do not need as severe a final sentence in order for the sentence to “reflect the

  severity of the offense” as require by § 3553(a).

        In sum, the characteristics of Mr. Dileo, including his mental health and the

  amount of time he has already served, and the lessened severity of his offense as

  evidenced by the passing of the Fair Sentencing Act of 2010, weigh heavily in favor

  of granting Mr. Dileo a sentence reduction.



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        Guidelines Calculation Includes a Departure Under § 5K2.13

        One of the key factors in determining the appropriate reduction in sentence is

  the fact that Judge Hurley reduced the offense level based on a departure under §

  5K2.13 instead of a variance. That difference is crucial because a departure is part

  of the Sentencing Guidelines calculation that remains unchanged similar to the

  three-level reduction for acceptance of responsibility. Any changes to the offense level

  based on the application of First Step Act must also include the five-level departure

  that Judge Hurley made part of the Sentencing Guidelines calculation under §

  5K2.13.

        As previously argued by Mr. Dileo, application of the Fair Sentencing Act of

  2010, as authorized by section 404 of the First Step Act, has the effect in Mr. Dileo’s

  case of reducing the starting offense level. Mr. Dileo was deemed a career offender.

  At this initial sentencing, his offense carried a maximum sentence of forty years, and

  thus a career offender level of 34. U.S.S.G. § 4B1.1. The five-level departure brought

  that down to an offense level or 29. (DE 41:57-58). With a criminal history category

  of VI that resulted in a sentencing range of 151-188.        Judge Hurley imposed a

  sentence at the low end of that range, 151 months, as to Count Two. Count Four had

  a concurrent sentence of 120 months. The mandatory consecutive 60 month sentence

  as to Count Five made his final sentence 211.

        Now, application of the Fair Sentencing Act of 2010 to Mr. Dileo’s offense

  brings the statutory maximum to twenty years. 21 U.S.C. § 841(b)(1)(C). That in

  turn, reduces the starting offense level under the career offender provision to 32. A



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  five-level departure under §5K2.13 further reduces it to a level 27. An offense level

  27 and a criminal history category of VI results in a sentencing range of 130-162. A

  sentence at the low end of that range, 130 months, plus the 60 month mandatory

  consecutive sentence results in a total sentence of 190 months.

        Again, Mr. Dileo has been in federal custody since August 19, 2005.          In

  addition, the Federal Bureau of Prisons lists Mr. Dileo with a release date of January

  20, 2021. He has thus served 166 months of his sentence, and with gain time, he only

  has to serve approximately 19 more months. A sentence reduction to a sentence of

  190 months would be a 21-month reduction and essentially allow for Mr. Dileo’s

  immediate release. A sentence under § 841(b)(1)(C) would also reduce the minimum

  time for supervised release to three years. Mr. Dileo would thus respectfully request

  a sentence reduction to a sentence of 130 months as to Count Two and a supervised

  release term of three years. In the alternative, Mr. Dileo would respectfully request

  a sentence of time served. Mr. Dileo would also respectfully request a reduction in

  his term of supervised release to three years.

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                                      Conclusion

        Section 404 of the FSA 2018 grants the district courts broad discretion to

  reduce sentences imposed under the excessively-harsh penalty structure that

  Congress has now renounced. Mr. Dileo is eligible for such a reduction, and he

  respectfully asks that the Court reduce his crack-cocaine sentence from 151 months

  to 130 months. In the alternative, Mr. Dileo would respectfully request a reduction

  to a sentence of time served. In addition, Mr. Dileo would request a reduction in the

  term of supervised release to three years.




                                               Respectfully submitted,

                                               MICHAEL CARUSO
                                               FEDERAL PUBLIC DEFENDER

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                            CERTIFICATE OF SERVICE

        I HEREBY certify that on June 19, 2019, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record via transmission of Notices

  of Electronic Filing generated by CM/ECF or in some other authorized manner for

  those counsel or parties who are not authorized to receive electronically Notices of

  Electronic Filing.



                                                    /s/Bernardo Lopez
                                                       Bernardo Lopez
